IRENE O'D. FERRER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Ferrer v. CommissionerDocket No. 18199.United States Board of Tax Appeals20 B.T.A. 811; 1930 BTA LEXIS 2030; September 15, 1930, Promulgated *2030  1.  The petitioner was named the residuary legatee of her husband's estate and charged with a trust to expend such sums as she considered proper for the care and education of her four minor children.  Held that the sums so expended should be reported as income of the children and are not properly included in her gross income.  2.  Where an estate did not distribute income for prior years until 1921, held that income for those years is properly returnable by the estate and not by the beneficiary.  Edward L. Blackman, Esq., for the petitioner.  F. R. Shearer, Esq., for the respondent.  BLACK *811  In this proceeding the petitioner seeks a redetermination of her income-tax liability for the calendar year 1921, for which year the respondent has proposed a deficiency in the amount of $1,306.44.  The questions involved arise over the taxability to the petitioner (1) of certain income received as trustee under the will of her husband and (2) of certain other income received by the petitioner under the will of her mother.  *812  FINDINGS OF FACT.  The petitioner is the widow of Jose M. Ferrer, who died on February 23, 1920, a resident*2031  of the City, County and State of New York, leaving a last will and testament, which was duly admitted to probate, the portion of which is material to this controversy being as follows: All the rest, residue and remainder of my estate, real and personal, wherever situate, I give, devise and bequeath to my said wife, Irene O'D. Ferrer, in trust however, to hold the same and the entire proceeds thereof for and during her natural life, and to invest and reinvest the same or the proceeds thereof in good interest bearing securities, according to law, or in the purchase of improved and income producing real estate, and to keep the same invested, and to collect and receive the rents, income and profits thereof for and during the term of her natural life, and to apply the same in her discretion to her own support and maintenance, use and enjoyment, and also for the support, education and maintenance, of each of my four children, namely, Jose Maria Ferrer, Maria Irene Ferrer, Melchor Gaston Ferrer and Teresa Catherine Ferrer, and to the support, education and maintenance of any other child or children which may be born unto me and to that of the survivor or survivors of such children according*2032  as the same may be necessary in each case for that purpose, until the death of my said wife.  The residue so conveyed was appraised at some $470,000.  The petitioner qualified both as executrix of the will and as trustee under the same, and in 1921, as executrix transferred to herself as trustee the securities and real estate constituting the residuary estate.  The decedent was survived by his widow, the petitioner, and their four minor children, the oldest of whom was then seven years of age.  As trustee of the estate of Jose M. Ferrer, the petitioner during the calendar year 1921 received as income from the portion of the estate transferred to her as trustee the sum of $5,379.65, and in the month of March, 1922, she filed with the Commissioner of Internal Revenue her fiduciary return for the preceding calendar year in which she declared that the net income received was $5,179.65 and had been distributed to her as an individual.  This she included in her individual income-tax return for 1921.  The respondent on an audit of this fiduciary return did not disturb the amount of income received, but disallowed depreciation on real estate in the amount of $200, fixing the net income*2033  at $5,379.65, and allowed a credit for $31.09, representing taxes paid at the source.  No question is raised on this appeal concerning these two last named items.  During the year 1921 the petitioner, exclusive of the ordinary expenses connected with the maintenance of her home, expended for food, clothing, doctor's bills, schooling, and trained nurses for her four children the sum of $7,184.75.  During this year she maintained two bank accounts, one as trustee and the other as an individual.  *813  Disbursements were made from her trustee account of the full amount of the income of the trust in 1921 by means of checks payable to cash and deposited by her in her individual account.  The expenditures amounting to $7,184.75 for the benefit of her four children were made by checks drawn on her individual account, in which had been deposited and commingled with her own funds, the income received from the trust created by her husband.  The children had no other property or income of their own.  The petitioner is the daughter of Teresa M. J. O'Donohue, who died on January 7, 1918, leaving a last will and testament, which was duly probated on February 7, 1918, under the terms of*2034  which the petitioner was to receive one-fourth of the residuary estate.  She was also nominated as one of the executors and trustees under the will.  Thereafter, she, together with the other named executors and trustees, qualified and the estate continued in process of administration until some time during the year 1921.  The said executors did not make any payments to the petitioner on account of her share of the income from the residuary estate until the year 1921 and during that year they paid her $13,696.62 as her share of the accumulated income of the estate.  Of this amount $3,074.74 represented the petitioner's share of the income of the residuary estate received by the executors during the year 1921, and $10,621.88 represented the share of the income received by the executors in years prior to 1921.  The petitioner duly filed with the Commissioner of Internal Revenue in March, 1922, her personal income-tax return for the calendar year 1921, in which she declared her net taxable income to be $17,786.29, upon which a tax of $637.13 was assessed.  The petitioner in her income-tax return for 1921 include in her gross income only the $3,074.74 which represented the amount of*2035  income which the executors of her mother's estate had received during that year and paid over to her.  She did not include in her return $10,621.88 which had been received by the executors in prior years and paid over to her in 1921.  Subsequently, the Commissioner of Internal Revenue audited the return, making no change in the deductions, but increasing the net income to $25,703.47, resulting in an additional tax liability in the amount of $1,306.44.  The increase in petitioner's income, as redetermined by the Commissioner, was due entirely to this addition of $10,621.88, less certain minor adjustments which are not in dispute.  OPINION.  BLACK: The first contention of the petitioner is that under the will of her husband the income of the property conveyed to her in trust was not for her benefit alone, but was also impressed with a trust for *814  the benefit of the children and that whatever part of the income which within her discretion she should apply for the support, education, and maintenance of the children within the year in which said income was received should be taxable to the children and not to her.  The respondent contends that the discretion authorized by*2036  the will is not the discretion imposed on a fiduciary, but is simply a direction for whom the money may be expended after it is distributed to petitioner.  But, if he is in error in this contention, the respondent contends in the alternative that when the petitioner drew the funds from the trust account and deposited them in her individual bank account she exercised her discretion as trustee as to the manner of distribution and the income became income to her individually, and that the obligation to support, maintain and educate her four children was thereafter assumed by her individually as their mother, which conclusion, he asserts, was borne out by the fact that the petitioner on her fiduciary return reported all the trust income as being distributable to her individually, and in fact she rendered such income for taxation on her individual income-tax return for 1921.  We are not inclined to place any controlling weight on the fact that the petitioner now assumes a different position in regard to the distribution of the trust funds than she did at the time of filing the fiduciary return and including and the fiduciary income in her own individual income-tax return for 1921.  In*2037 Gutterman Strauss Co.,1 B.T.A. 243"&gt;1 B.T.A. 243, we stated that the Board was created for the purpose of determining the correctness of deficiencies in tax found by the Commissioner and said, "If a taxpayer can prove to this Board that he is entitled to a deduction from gross income, the deduction will be allowed even though it has never been claimed by the taxpayer at any hearing had before the Commissioner." It is necessary to decide from the language of the testator whether he conveyed the residuary estate to the petitioner impressed with a trust for the benefit of their four children as well as an express trust for her own benefit.  The pertinent paragraph of the will has been set up at length in the findings of fact.  No technical language is necessary to the creation of a trust either by deed or will.  Colton v. Colton,127 U.S. 300"&gt;127 U.S. 300. We are convinced that by the provisions of the will a trust was created for the benefit of the minor children, and that the income was charged with a trust for their support, education and maintenance.  Unquestionably a right which could be enforced in a court of equity existed in the children to have a reasonable part*2038  of the income so used and the petitioner was not authorized to appropriate it either entirely or mainly to her own use and deprive the children of their reasonable or equitable shares.  *815  The editor of Perry's Sixth Edition of Trusts and Trustees says in a footnote to section 117: When a testator has stated the motive which leads to the gift, the inquiry arises, is the motive or purpose of the gift so stated that the donee is under an obligation to apply the gift, or any part of it, to the benefit of another person?  There are three classes of cases: * * * (2) There is a large class of cases where the first donee has a discretion to apply a part or the whole of the gift to a third person.  This discretion, if exercised in good faith, will not be interfered with by the court, and the property unapplied by the donee will belong beneficially to him.  Thus in Hornby v. Gilbert, Jac. 354, where a gift was made to A to be laid out and expended by her at her discretion, for or towards the education of her son, and that she should not be liable to account to her son or any other person, it was held that the property belonged to her beneficially, subject to a trust to*2039  apply a part to the education of the son during his minority.  And so where income is given for life, to be applied to the education and maintenance of children in the discretion of the donee, the income must be paid to the person named, and the part unexpended belongs to such person beneficially.  Gilbert v. Bennett, 10 Sim. 371; Hadow v. Hadow, 9 Sim. 438; Leach v. Leach, 13 Sim. 304; Brown v. Paul, 1 Sim. (N.S.) 92; Bowden v. Laing, 14 Sim. 113; Longmoor v. Elcum, 2 Y &amp; C. Ch. 363. And if the interest or income of legacies to the children is given to a parent, to be applied to the maintenance and education of the children, the parent will take the surplus beneficially if he performs his duty, unless a contrary intention is expressed.  We consider the reasoning of the Solicitor in his opinion in a similar situation reported in I.T. 1554, C.B. II-1, p. 134, as applicable, in which he said: While under the terms of the will the net income is to be paid to the widow, she is, nevertheless, given no more or greater beneficial interest therein than the daughters, *2040  and it is accordingly held that each of the beneficiaries (the widow and two daughters) will be entitled to an equal portion of the income after the trust has been established, irrespective of the assignments.  (Jubber v. Jubber, 9 Simons, 503; Loring v. Loring,100 Mass. 340"&gt;100 Mass. 340; Proctor v. Proctor, 6 N.E. (Mass.) 849.) See also Perry on Trusts and Trustees (6th Ed.), Section 117, and cases there cited to the effect that the parent takes as a sub-trustee. See Lawrence v. Lawrence, 220 App.Div.(N.Y.) 307; 221 N.Y.S. 572"&gt;221 N.Y.S. 572, and Colton v. Colton, supra.We do not attach any controlling weight, as contended for by the respondent, to the fact that the actual payments for the support and maintenance of the minor children were made from the petitioner's individual bank account instead of the trust account, as this method was more convenient for the petitioner and the record discloses no evidence of any intention on the part of the petitioner to disregard the trust imposed.  Since we have decided that there was a trust in favor of the children as well as petitioner, the distribution should*2041  have been *816  taxed in accordance with section 219(d) of the Revenue Act of 1921, which provides: In cases under paragraph (4) of subdivision (a), and in the case of any income of an estate during the period of administration or settlement permitted by subdivision (c) to be deducted from the net income upon which tax is to be paid by the fiduciary, the tax shall not be paid by the fiduciary, but there shall be included in computing the net income of each beneficiary that part of the income of the estate or trust for its taxable year which, pursuant to the instrument or order governing the distribution, is distributable to such beneficiary, whether distributed or not, or, if his taxable year is different from that of the estate or trust then there shall be included in computing his net income his distributive share of the income of the estate or trust for its taxable year ending within the taxable year of the beneficiary.  In such cases the beneficiary shall, for the purpose of the normal tax, be allowed as credits, in addition to the credits allowed to him under section 216, his proportionate share of such amounts specified in subdivisions (a) and (b) of section 216 as are*2042  received by the estate or trust.  The question of the amount that went to each of the four children is not before us.  The petition filed by petitioner contains the following allegation: That the reasonable expense of providing for the education and support of said children in the year 1921 was at least the sum of $5,000 and your petitioner expended in 1921 more than that amount for such purpose and such sum should be deducted from the income received by the petitioner from the estate of her deceased husband in computing her taxable income.  Proof was made that $7,184.75 was expended during the taxable year for that purpose while the entire income from the trust amounted to $5,379.65.  Since no amendment was made to conform with the proof, $5,000 of the income rendered by petitioner on her original return should be taken therefrom as income taxable to the children and not to the petitioner.  The second issue involves a part of the amount received by the petitioner from the estate of her mother in 1921.  This estate was admittedly in process of administration until some time in 1921 and no payments were made by the executors to the petitioner on account of her share of the income*2043  until 1921, at which time she received $13,696.62, of which $10,621.80 represented dividends and other income received by the executors in years prior to 1921.  The respondent, in determining petitioner's tax liability, included in her gross income for 1921 the entire $13,696.62.  The applicable section of the Revenue Act of 1921 is section 219 (a) and (c): SEC. 219. (a) That the tax imposed by sections 210 and 211 shall apply to the income of estates or of any kind of property held in trust, including - (1) Income received by estates of deceased persons during the period of administration or settlement of the estate; * * * (c) *817  In cases under paragraphs (1) * * * of subdivision (a) or in any other case within subdivision (a) of this section except paragraph (4) thereof the tax shall be imposed upon the net income of the estate or trust and shall be paid by the fiduciary, except that in determining the net income of the estate of any deceased person during the period of administration or settlement there may be deducted the amount of any income properly paid or credited to any legatee, heir, or other beneficiary.  In such cases the estate or trust shall, for the*2044  purpose of the normal tax, be allowed the same credits as are allowed to single persons under section 216.  Corresponding provisions to the above were contained in section 219 of the Revenue Act of 1918.  In the Appeal of the Titusville Trust Co.,3 B.T.A. 868"&gt;3 B.T.A. 868, at 871, we said: * * * The Board finds no reason for holding that, merely because a will creates a trust, the tax should be computed upon the basis that the income is that of a trust instead of the income of an estate during the period of administration or settlement.  Where the executors, who may also be trustees, are required to perform acts in the administration and settlement of an estate, any income received between the date of the decedent's death and the performance by the executors of their duties, as such, and the rendering of their account in settlement thereof, should be treated as the income of an estate in process of administration or settlement.  The estate of this decedent was subject to administration and the duties common to and necessary in the administration of estates were imposed upon the executors, and, until this duty has been performed and the property is taken over by the executors, *2045  or such other person as the court might appoint as trustee, the provisions of section 219 applicable to estates in the process of administration or settlement should be applied.  See also Charles J. Coulter, Jr.,6 B.T.A. 426"&gt;6 B.T.A. 426, wherein the Board disapproved without opinion the action of the Commissioner in determining a deficiency against the petitioner based upon the inclusion in his income for the taxable year of the sum of $378.41, a portion of the income received by the executors of the estate during the taxable year and not paid over to the petitioner, the estate being in process of administration during the entire year.  Manifestly the $10,621.88 income from the estate of Teresa M. J. O'Donohue, received in prior years by the executors of the estate, was taxable to the estate and not to petitioner, unless it was paid over or credited to her in such years.  The evidence shows that it was neither paid nor credited to petitioner in such prior years but was paid to her in 1921.  Whether the executors rendered such income for taxation and paid the tax thereon in such prior years, we do not know.  The evidence and stipulation are silent on that point.  Where the*2046  tax has been paid on the net income of an estate or trust by the fiduciary, such income is free from tax when distributed *818  to the beneficiaries, article 344, Regulations 62, Revenue Act of 1921.  I.T. 1344, C.B. I-1, p. 217, wherein it was held: Income of the estate during the period of administration is taxable to the executors and not to the beneficiaries * * *.  They may deduct in such returns amounts properly paid or credited during the taxable year to beneficiaries, which amounts should be included in the individual returns of the beneficiaries and tax paid thereon by them whether such amounts were actually received by them during such years or not * * *.  The amounts representing taxpayer's share of the income accumulated during that period are not taxable income to him for the years in which it was accumulated nor when paid.  We think the foregoing correctly states the law governing the instant case.  If any part of the $10,621.88 had been paid to petitioner or credited to her by the executors in the years when such income was received, then such part would have been taxable to petitioner in the year when paid or credited and the executors would have had the right*2047  to deduct such payments or credits from their return of income for the particular taxable year.  But no part of said $10,621.88 having been paid to petitioner or credited to her in the years when it was earned, it was taxable to the executors and can not be added to petitioner's income in 1921, the year in which the administration was closed and the money paid over to petitioner.  Of course the $3,074.74 income to the estate of Teresa M. J. O'Donohue in 1921, paid over to petitioner in 1921, was properly income to her for that year and the executors in filing their fiduciary income-tax returns for that year, have the right to deduct such payment from the gross income of the estate.  Decision will be entered under Rule 50.